Appellate Case: 23-1197       Document: 010110999625            Date Filed: 02/13/2024    Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                       February 13, 2024


  David William Dacres Shaver
  1750 30th Street, Unit A338
  Boulder, CO 80301

  RE:       23-1197, Shaver v. Whittier Condominiums HOA
            Dist/Ag docket: 1:23-CV-00645-NYW

 Dear Appellant:

 Enclosed is a copy of the order and judgment issued today in this matter. The court has
 entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

 Please contact this office if you have questions.

                                               Sincerely,



                                               Christopher M. Wolpert
                                               Clerk of Court



  cc:       Wendy E. Weigler




  CMW/lg
